         Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------         ------------X
GERARD SILLAM and ALDRIC SAULNIER,

                        Plaintiffs,                              No. 21 CV 6675 (CM)

        -against-

LABA TON SUCHAROW LLP,
CHRISTOPHER J. KELLER, and
LA WREN CE A. SUCHAR OW,

                        Defendants.
-------------------------------------------------------------------X




                        PLAINTIFFS' MEMORANDUM OF LAW IN
                    OPPOSITION TO DEFENDANTS' MOTION TO DISMISS



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            Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 2 of 21




                                                     TABLE OF CONTENTS



TABLE OF AUTHORJTIES ..........................................................................................................
                                                                                                                             ii

PRELIMINARY STATEMENT ....................................................................................................2

FACTS ............................................................................................................................................
                                                                                                                                               2

ARGUMENT ................................................................................................................................11

I.         Plaintiffs' claims that Defendants made misrepresentations to them
           between 2011 and 2015 are not barred by the Universal Settlement
           Agreement and General Release..................................................................                                   12

II.       Plaintiffs have successfully plead the elements of their
          claim .....................................................................................................                        13
          A. Fraudulent Inducement.........................................................................                                 13
          B. Negligent Representation.....................................................................                                   14
          C. Reasonable Reliance...........................................................................                                 17
          D. Plaintiffs' Damages...........................................................................                                .18

CONCLUSION.............................................................................................................................19
            Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 3 of 21




                                                 TABLE OF AUTHORITIES



Cases
Ashcroft v. Iqbal,
  129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) ..................................................................... 11
Bell Atl. Corp. v. Twombly,
  550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) ................................................ 11
Bellefonte Re Inc. Co. v Argonaut Ins. Co.,
  757 F2d 523, 527-528 [2d Cir 1985] ........................................................................................ 12
 Cantor v. Levine,
   115 A.D.2d 453,495 N.Y.S.2d 690 (2nd Dept.1985) ............................................................ 18
 Desiderio v. National Ass 'n of Sec. Dealers, Inc.,
  191 F.3d 198, 202 (2d Cir. 1999).............................................................................................. 11
Greco v. Trauner, Cohen & Thomas, L.L.P.,
  412 F.3d 360,363 (2d Cir. 2005) .............................................................................................. 11
J.A. 0. Acquisition Corp. v. Stavitsky,
   8 N.Y.3d 144,148,831 N.Y.S.2d 364,863 N.E.2d 585) ......................................................... 14
King v. Simpson,
  189 F.3d 284,287 (2d Cir. 1999) ............................................................................................. 12
Kimmell v. Schaefer,
   89 N.Y.2d 257,675 N.E.2d 450 (1996) .............................................................................. 14,15
Lengyel v. Lint,
  167 W.Va. 272,280 S.E.2d 66 (1981) ...................................................................................... 13
Ossining Union Free School Dist. v. Anderson LaRocca Anderson,
  73 N.Y.2d 417,541 N.Y.S.2d 335,539 N.E.2d 91)................................................................. 15
Starr v. Georgeson S 'holder, Inc.,
  412 F.3d 103, 109 (2d Cir. 2005) .............................................................................................. 11
Villager Pond, Inc. v. Town of Darien,
  56 F.3d 375,378 (2d Cir. 1999)................................................................................................ 12
White v. Nat'! Steel Corp.,
 938 F.2d 474,490 (4th cir.1991) ............................................................................................. 13
Zinermon v. Burch,
  494 U.S. 113,118 (1990) .......................................................................................................... 11

Statutes
F.R.C.P. 12(b)(6) .......................................................................................................................... 11




                                                                      ii
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 4 of 21




        Plaintiffs, Gerard Sillam and Aldric Saulnier respectfully submit this Memorandum of

Law in Opposition to Defendants' Motion to Dismiss (hereinafter the "Motion").

                                  PRELIMINARY STATEMENT

        Defendants' papers in support of their Motion are notable only in what they ignore rather

than what they rely upon. Defendants should not be given further leeway to avoid and conceal

the very facts they hope the Court will rely upon in considering the Motion. Defendants fail to

present the truth as they are aware that their dealings with the Plaintiffs violate the New York

Rules of Professional Conduct. Defendants have a pattern and practice of fraud as this is not the

only matter wherein Defendants have presented false affidavits/declarations. Instead, the Court

should impartially examine Plaintiffs' good-faith allegations and apply the proper deference to

those facts which Plaintiffs have set forth. Accordingly, Defendants' Motion should be denied in

its entirety; Plaintiffs should be granted the opportunity to further prove the facts of this matter

through discovery, as most of the documents Plaintiffs require are in the possession of

Defendants and not a matter of public record, or at a minimum, the Court should grant Plaintiffs'

leave to amend their Complaint.

                                              FACTS

       The facts set forth below are derived from Plaintiffs' Verified Complaint (hereinafter

"Complaint") dated August 6, 2021, and from the corresponding exhibits that are attached to the

Affirmation of Douglas M. Reda (hereinafter "Reda Affirmation"). A copy of the Complaint is

attached to the Reda Affirmation as Ex. "A".

       On or around November 3, 2005, Plaintiff, Gerard Sillam (hereinafter "Plaintiff" or

"Sillam"), attended a meeting with Defendant Christopher J. Keller (hereinafter "Defendant" or

"Keller") and others, attorneys at Defendant, Labaton Sucharow, LLP (hereinafter "Defendant"




                                                  2
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 5 of 21




or "Labaton"). During the aforementioned meeting, Keller mentioned the possibility that,

"Sillam could refer European investment funds to Labaton". (Complaint 125).

        Subsequent to the November 3, 2005, meeting, Keller arranged a second meeting with

Sillam, Keller and Jennifer Tetefsky, Labaton's director of business development. (Complaint        1
27). During the meeting, Keller expressed interest in Sillam's contacts with companies managing

investment funds regulated by the European Union (hereinafter "UCITS Funds"). (Complaint            1
28 et seq.). These UCITS Funds owned many securities that traded on U.S. exchanges.

Accordingly, "Keller viewed them as potential Plaintiffs in securities class actions filed in the

United States".

       During the same meeting, Keller proposed a referral arrangement with Sillam.

(Complaint 129 et seq.). Keller's proposed arrangement was that "Sillam would work for

Labaton as an independent contractor whose sole job was to refer UCITS funds to Labaton". In

exchange, "Labaton would pay Sillam a referral fee equal to fifteen percent ( 15%) of the total

fees paid to Labaton in connection with any matter for which Labaton represented a client

referred by Sillam". Furthermore, Keller instructed Sillam to retain a lawyer, who would collect

the referral fees on Sillam's behalf. (Complaint 130 et seq.). Keller did not provide a detailed

explanation to Sillam why an attorney was needed for their proposed arrangement; only stating

that this was how Labaton handled this type of arrangement.

       It is important to note that Sillam is a French Businessman and is not an attorney. Sillam

did not have any knowledge that his proposed referral fee arrangement with Labaton violated the

New York Rules of Professional Conduct. (Complaint      1 31; Reda Affirmation Ex. "B" Sillam
Affidavit at 2). According to the New York Rules of Professional Conduct, "A lawyer shall not

compensate or give anything of value to a person or organization to recommend or obtain




                                                 3
         Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 6 of 21




employment by a client, or as a reward for having made a recommendation resulting in

employment by a client...". NY ST RPC Rule 7.2 (McKinney).

        Nevertheless, Defendant, Labaton Sucharow, LLP, is a Law Firm with offices in New

York, who upon information and belief, have been practicing law for more than fifty (50) years.

Likewise, Defendants Christopher J. Keller and Lawrence A. Sucharow, are attorneys, who upon

information and belief, have been practicing law in New York for more than twenty (20) years. It

is extremely unlikely that the above-mentioned Defendants were not aware that their

arrangement with Sillam violated the New York Rules of Professional Conduct.

       Accordingly, this was the first instance wherein Defendants defrauded Sillam. Sillam

would later learn that the purpose of Keller's proposed arrangement, specifically the use of an

attorney to receive Sillam's referral fees, "was to obscure the nature of a referral arrangement

between Labaton and Sillam, a nonlawyer". (Complaint      ,r32). In fact, had Sillam had this
knowledge previously, he would not have entered into such an arrangement with the Defendants

(see Reda Affirmation Ex. "B" Sillam Affidavit at 2).

       On or around February 21, 2006, Keller's proposed referral fee arrangement with Sillam

was formalized by letter via Labaton and Jean Marc Descoubes (hereinafter "Descoubes").

Descoubes, was the (French) attorney Sillam retained at Keller's request "to act as an

intermediary for the payment ofreferral fees from Labaton to Sillam". (Complaint      ,r33). The
letter agreement (hereinafter "Descoubes Agreement") was "intended to memorialize the manner

in which the Descoubes firm and Labaton will co-venture securities class action and other

representative litigation on behalf of clients obtained principally through the efforts of your firm

and its relationship. These clients will be referred to herein as 'Descoubes Clients'. (Complaint   ,r
34 et seq; Reda Affirmation Ex. "C" Descoubes Agreement). Additionally, it was agreed that




                                                  4
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 7 of 21




"Descoubes would receive 15% of the net attorneys' fee Labaton Sucharow ultimately earns in a

case in which a Descoubes' client appointed as Lead Plaintiff'. (Id at 1).

        At the time the Descoubes Agreement was executed, Defendants did not expect any

actual client referrals from Descoubes. (Complaint 135; Reda Affirmation Ex. "B" Sillam

Affidavit at 2). This was purely a way in which Defendants could attain client referrals from

Sillam and use the Descoubes Agreement to get around the New York Rules of Professional

Conduct to pay Sillam for his referrals. This is evident in an email exchange between Sillam and

Sucharow on March 1, 2007, wherein they discuss Sillam's fees concerning Sillam's client

referrals to Defendants. (Reda Affirmation Ex. "D" Email Exchange dated March 1, 2007).

       Notwithstanding the above-mentioned agreement, Labaton and Sillam executed an

additional separate agreement (hereinafter "Sillam Agreement" or "Consulting Agreement) on

April 25, 2006. The Sillam Agreement provided that, "Gerard Sillam shall provide to Labaton

Sucharow his personal assistance and expertise, in directly or indirectly facilitating Labaton

Sucharow's representation of foreign institutional investors who, as the result of Gerard Sillam's

efforts become clients ofLabaton Sucharow ('Client(s)'), and consulting on behalf ofLabaton

Sucharow in relation thereto". (Complaint 136 et seq; Reda Affirmation Ex. "E" Consulting

Agreement). For Sillam's services, "Labaton agreed to pay Sillam a 'success fee' for each

investment fund client secured by Sillam's efforts", and an additional success fee "in the event

that Client is appointed Lead Plaintiff as defined by the Private Securities Litigation Reform Act

of 1995 (hereinafter "PSLRA") and Labaton Sucharow is appointed Lead Counsel as defined by

the PSLRA". (Id at 1).

       On or around May 1, 2008, Descoubes assigned all interests and rights in the Descoubes

Agreement to Plaintiff Aldric Saulnier (hereinafter "Plaintiff" or "Saulnier"). (Complaint 13 7 et




                                                 5
         Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 8 of 21




seq). Saulnier, a French attorney, had no knowledge of the New York Rules of Professional

Conduct and, that the arrangement between Sillam, Descoubes, and Labaton violated the New

Yark Rules of Professional Conduct.

        "Once the referral arrangement was in place, Sillam arranged dozens of meetings across

Europe between Labaton lawyers and Managers of leading UCITS funds". (Complaint            ,r38).
Additionally, Sillam also organized a conference in Paris to promote Labaton's efforts and

Sillam secured media coverage of the conference (Complaint       ,r39). Moreover, Sillam
successfully arranged for meetings between Labaton and numerous funds, "these high-value

referrals resulted in many successful engagements for Labaton", which are more fully set forth in

detail in Plaintiffs' complaint ,r's 40-47.

        Not long thereafter, Labaton began reducing a portion of Sillam's fee (Complaint      ,r51)
and, "Labaton also resisted its obligation to pay Plaintiffs' referral fees and contract bonus in

connection with the Vivendi class action". (Complaint     ,r52). Sillam filed a complaint in France,
alleging his entitlement to referral fees and asserting that Labaton had defrauded him (Complaint

,r53). Towards the end of2009     Plaintiffs and Labaton settled their disputes and the parties

executed two (2) settlement agreements, the Saulnier Settlement Agreement (hereinafter "Global

Settlement Agreement"), and the Sillam Settlement Agreement (hereinafter "Sillam Settlement

Agreement").

        The terms of the Global Settlement Agreement were that Labaton agreed to pay Saulnier

thirty percent (30%) of the gross contingency fees earned by Labaton " ... attributable to the

Vivendi Clients, in connection with its ongoing litigation against Vivendi in the Southern District

ofNew York ... ", (Complaint    ,r56 et seq; Reda Affirmation Ex. "F" Global Settlement
Agreement at 3); Additionally, thirty percent (30%) of the gross contingency fees earned by




                                                  6
         Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 9 of 21




Labaton, "shall also apply to and include any other matters in which Labaton represents a

Potential Client in Litigation or Pre-litigation ... ". (Id At 3); Labaton agreed to pay Saulnier

" ... in an amount equal to 15% the gross fees paid to Labaton in any matter in which Labaton is

engaged to represent any of the 'Potential Clients' (who are potential clients at the time

representation is initiated) either in pre-litigation or in litigation ... within five (5) calendar years

from the date on which this settlement agreement is executed". (Id. At 4). Potential Clients

signify the "Referred Clients" that Sillam had referred to the Defendants.

        Labaton agreed to produce "verifiable documents" for their representation of any of the

"Potential Clients" for pre-litigation and post litigation. (Id at 4). Additionally, Labaton agreed to

produce "in a verified report, a full list of any matters pending in which Labaton represents any

of the Potential Clients anywhere in the world as of the date of execution of The Settlement ... ".

(Id At 5.). Labaton further agreed to provide to Saulnier' s counsel, "a verified declaration

disclosing whether any of the Potential Clients has/have retained Labaton regarding any potential

litigation or actual litigation anywhere in the world during the previous six months ... ". (Id At 5).

        The Saulnier Agreement included a confidentially clause that precluded Saulnier from

making "any disparaging remarks" about Labaton "to French or US federal or state regulators,

members of the French or US federal or state judiciary, or any Bar Association". (Complaint 1

57; Id at 8). These terms were included in the agreement no doubt to further hide Defendants'

violations of the New York Rules of Professional Conduct.

        The terms of the Sillam Settlement agreement were that Labaton agreed to pay four

hundred thousand dollars ($400,000) to Sillam. (Complaint 1 59 et seq). In exchange, Sillam

agreed to dismiss the lawsuit against Labaton that was pending in a French Court and Sillam

waived and released all claims against Labaton. Notably, there was a section of the Sillam




                                                    7
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 10 of 21




Settlement Agreement dedicated to claims processing/ filing claims. (See Reda Affirmation Ex.

"G" Sillam Settlement Agreement). Sillam maintains two (2) claims processing companies, one

in the United States (First International Claims Filing, Inc.), and one in Europe (EU Claims

Filing Limited). (Id at 2). The Parties agreed that "Labaton is at all times free to undertake and

provide assistance of any type regarding claims processing or claims filing on behalf of any

company - exclusive of and with the sole exception of Credit Agricole ... ". (Id at 3). Sillam

agreed to these terms, however, there was no such agreement that if Labaton filed proof of

claims or conducted claims processing with any of Sillam's referred clients ("Potential Clients"),

there would be no referral fee paid to Sillam by Labaton.

        Moreover, as per the Agreement, Labaton required Sillam to deliver and destroy any and

all documents and electronic information in his possession, including but not limited to emails,

that relate to Labaton or its attorneys. (Id At 4). These terms were also included in the agreement

no doubt to further hide Defendants' violations of the New York Rules of Professional Conduct.

       Pursuant to the 2009 Settlement Agreements, Keller submitted declarations to Plaintiffs

stating that since their agreement, Labaton has not been retained by any "Potential Clients".

(Complaint 161 et seq). Defendant Keller signed Declarations to this effect on January 21, 2011,

on June 9, 2011, on February 14, 2012, on July 16, 2013, and on July 8, 2015. (Complaint 162;

Reda Affirmation Ex. "H" (collectively) the Keller Declarations). Following the July 8, 2015,

Declaration, Plaintiffs did not trust Defendants' assertions in the Keller Declarations and

endeavored to investigate further. Plaintiffs found it difficult to investigate as they were unable

to attain the necessary documentation that is easier to obtain as a citizen of the United States.

(See Reda Affirmation Ex. "B" Sillam Affidavit at 3).




                                                  8
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 11 of 21




        As Plaintiffs were unable to conduct a proper investigation, and on the basis of

Defendants deceptive Keller Declarations, On August 15, 2015, Defendants persuaded Plaintiffs

to execute a new settlement agreement (hereinafter, the "Universal Settlement Agreement").

(Complaint ,r64). The Universal Settlement Agreement "explicitly concerns and applies to the

two settlement agreements which were entered into on or about 12/30/09 and 12/31/09;

respectively entitled 'Settlement and Full Waiver and Release' ('Labaton - Sillam Settlement')

and 'Global Settlement Agreement and Full Waiver and Release' ... ". (See Reda Affirmation Ex.

"I" Universal Settlement Agreement at 1). This agreement terminated Plaintiffs' rights under the

two (2) previous settlement agreements, in exchange Labaton would furnish $99,999.99 to the

Plaintiffs and assignment ofLabaton's separate interest in certain fees owed to Labaton

regarding the Saipem litigation. (Complaint ,r65; Id    at2).
        Subsequent to the execution of the Universal Settlement Agreement, on or about

November 7,2017, "Sillam learned from a representative of AXA Investment Managers that

Labaton has filed proof of claims in class actions on AXA Investment Managers behalf'.

(Complaint ,r70). Sillam learned the same from a representative of Degroof PeterCam regarding

Labaton and filing proof of claims on their behalf. (Complaint ,r71). Plaintiffs began to discover

additional matters in which Defendants have represented certain "Referred Clients" or "Potential

Clients". Plaintiffs' assertions that Defendants represented the aforementioned clients are not

limited to mere litigation, but also include pre-litigation, post litigation, and the proof of claims

process, all of which should have been at the very least represented on the Keller Declarations.

Importantly, pre-litigation, post litigation and proof of claims process are not public, and without

a proper discovery process and/or exchange of documents, Plaintiffs are unable to "obtain

additional information concerning the extent ofLabaton's work for Referred Clients since the




                                                   9
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 12 of 21




settlement Agreements in 2009". (Complaint     ,r73). Thus, "Labaton has concealed from Plaintiffs
that it has earned millions of dollars from Referred Clients since 2009". (Complaint   ,r76).
        Furthermore, an attorney at Levi & Korsinsky LLP, revealed to Sillarn the matter of the

State Street Class Action (Arkansas Teacher Retirement System v. State Street Corporation,

Index No. 11-CV-l 0230) that was filed in the District of Massachusetts. Upon information and

belief, Labaton had allegedly submitted false affidavits to the Court concerning attorneys' fees.

This matter is currently pending an appeal (Lieff Cabraser v. Labaton Sucharow, Index No. 21-

1069) at the 1st U.S. Circuit Court of Appeals. Shortly after receiving this information, Plaintiffs

filed a criminal matter in France against the Defendants. (See Reda Affirmation Ex. "B" Sillarn

Affidavit at 4 and Ex. "M" Sophie Larroque Affidavit).

       Thereafter, Plaintiffs attempted to assert their current claims against Defendants.

Plaintiffs' attorneys contacted the Defendants to attempt to resolve this matter without pursuing

further litigation. (See Reda Affirmation Ex. "B" Sillam Affidavit at 4, 5). Plaintiffs then sought

to postpone until the criminal matter in France was completed before they continued to pursue

any matters against the Defendants in the United States. As the criminal matter in France has yet

to be completed and Defendants did not accept Plaintiffs prior requests for resolution, Plaintiffs

had no choice but to commence the action against the Defendants before the deadline on August

13,2021.

       On or around September 2020 Sillam was interviewed by a Reuters reporter, wherein

Sillam stated that "Labaton did not end up paying any alleged improper referral fees to his

French Lawyer because no clients he referred served as lead plaintiffs". (See Reda Affirmation

Ex. "J" Reuters Report). Plaintiffs concluded that only the filing of the proof of claims, pre and

post litigation, was the real basis of their claim. The Reuters interview was a good faith attempt




                                                 10
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 13 of 21




to say, "that we do not want to claim what is not owed to Mr. Saulnier and I". (Reda Affirmation

Ex. "B" Sillam Affidavit at 5). Plaintiffs' former attorney, who filed the complaint, did not

amend the Complaint to represent this prior to the six (6) years deadline.

                                            ARGUMENT

        Rule l 2(b )(c) provides for the dismissal of a complaint containing allegations which fail

to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). Thus, in order to

survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face. See Ashcroft v.

Iqbal, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell At!. Corp. v. Twombly, 550

U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). In assessing plausibility on a Rule

l 2(b )(6) motion to dismiss, a court must assume the veracity of all well-pleaded factual

allegations contained in the complaint and afford the plaintiff every reasonable inference. See

Zinermon v. Burch, 494 U.S. 113, I 18 (1990).

        In deciding a dismissal motion under Rule 12(b)(6), a district court "must accept all of

the plaintiffs factual allegations in the complaint as true and draw inferences from those

allegations in the light most favorable to the plaintiff." Starr v. Georgeson S'holder, Inc., 412

F.3d 103,109 (2d Cir. 2005); Desiderio v. National Ass'n o/Sec. Dealers, Inc., 191 F.3d 198,

202 (2d Cir. 1999).

               A complaint should not be dismissed "unless it appears beyond doubt that the

plaintiff can prove no set of facts in support of his claim which would entitle him to relief."

Greco v. Trauner, Cohen & Thomas, L.L.P., 412 F.3d 360,363 (2d Cir. 2005). "The issue is not

whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to




                                                   11
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 14 of 21




support the claims." King v. Simpson, 189 F.3d 284,287 (2d Cir. 1999) (quoting Villager Pond,

Inc. v. Town a/Darien, 56 F.3d 375,378 (2d Cir. 1999)).

        Plaintiffs here have asserted sufficient allegations in the Complaint to demonstrate that

they can prove their claims once given access to factual evidence long withheld by Defendants.

Defendants' Motion to Dismiss is yet another mechanism Defendants are employing to

circumvent liability. Accordingly, Defendants' Motion to Dismiss should be denied in its

entirety.

                                         POINT I
Plaintiffs' claims that Defendants made misrepresentations to them between 2011 and 2015
        are not barred by the Universal Settlement Agreement and General Release.

        The Universal Settlement Agreement was executed by the Parties on August 15, 2015.

Defendants were able to persuade Plaintiffs to execute the Universal Settlement Agreement on

the sole foundation that the Keller Declarations were in fact true and authentic. Plaintiffs would

not have signed the Universal Settlement Agreement but for the Keller Declarations stating that

"Since the execution of the Agreement, Labaton Sucharow has not been retained by any

'Potential Clients' as defined in 'Exhibit l' of the Agreement, attached hereto". (Complaint      ,r
15). Shortly thereafter, Plaintiffs ascertained that that Defendants were in fact retained by the

"Potential Clients" and that the Defendants fraudulently persuaded Plaintiffs to sign the

Universal Settlement Agreement based on the fictitious Keller Declarations .

        . " ... a party that release a fraud claim may later challenge that release as fraudulently

induced only ifit can identify a separate fraud from the subject of the release. Bellefonte Re Inc.

Co. v Argonaut Ins. Co.. 757 F2d 523, 527-528 [2d Cir 1985]. The Universal Settlement

Agreement, "explicitly concerns and applies to the two settlement agreements which were

entered into on or about 12/30/09 and 12/31/09". (See Reda Affirmation Ex. "I" Universal




                                                   12
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 15 of 21




Settlement Agreement at I). The Sillam Settlement Agreement and Global Settlement

Agreement (hereinafter "2009 Settlement Agreements") were a result of Labaton reducing a

portion ofSillam's fee (Complaint 151) and, Labaton defying its obligation to pay Plaintiffs'

referral fees and contract bonus in connection with the Vivendi class action". (Complaint 1 52).

        The 2009 Settlement Agreements were not a dispute over the (Keller) Declarations.

Plaintiffs' claims of fraud that resulted in the execution of the 2009 Settlement Agreements are a

separate fraud from Defendants fraudulently persuading Plaintiffs to sign the Universal

Settlement Agreement based on the Keller Declarations. Therefore, Plaintiffs claim of

Fraudulent Inducement against Labaton, and Keller are not barred by the General Release

(Universal Settlement Agreement).

                                            POINT II
                 Plaintiffs have successfully plead the elements of their claim.

A.     Fraudulent lnducemeut

       "There are four elements to a claim of fraudulent inducement: I) the allegedly fraudulent

act was committed by the defendant; 2) the act was material and false; 3)

the plaintiff justifiably relied upon the act; and 4) the plaintiff was damaged because he relied

upon it. White v. Nat'[ Steel Corp., 938 F.2d 474,490 (4th cir.1991) (citing Lengyel v. Lint, 167

W.Va. 272, 280 S.E.2d 66 (198 I)). Defendant Keller made false declarations as an agent of

Defendant Labaton by declaring that Defendants did not represent the "Potential Clients". Since

the execution of the 2009 Settlement Agreements, Labaton was in fact retained by the "Potential

Clients". In 2017, Sillam learned from a representative of AXA Investment Managers and

Degroof PeterCam that Labaton has filed proof of claims in class actions on AXA Investment

Managers and Degroof PeterCam's behalf since Sillam referred them to Labaton. (Complaint            1
70 & 171). Defendants made these false statements with the intention of inducing Plaintiffs to



                                                 13
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 16 of 21




sign the Universal Settlement Agreement. Plaintiffs relied upon these false (Keller) declarations

in their decision to sign the Universal Settlement Agreement. Plaintiffs would not have signed

the Universal Agreement if they had the knowledge that Defendants did in fact represent the

"Potential Clients" from 2011 to 2015. La baton concealed from Plaintiffs that it has earned

millions of dollars from Plaintiffs Referred Clients since 2009. (Complaint 176). In signing the

Universal Settlement Agreement, Plaintiffs gave up their valuable rights to the fees set forth in

the 2009 Settlement Agreements.

        Defendants replaced the 2009 Settlement Agreements with the (2015) Universal

Settlement Agreement in exchange for $99,999.99 and assignment ofLabaton's separate interest

in certain fees owed to Labaton regarding the Saipem litigation. (Complaint 165; Id at 2). If the

Keller Declarations were in fact true, and Defendants did not retain any "Potential Clients", then

theoretically Defendants did not owe anything to the Plaintiffs in 2015, therefore, the Universal

Settlement Agreement would be unnecessary. Why even persuade the Plaintiffs in signing a new

Settlement Agreement (Universal Settlement Agreement) in exchange for $99,999.99 and

assignment ofLabaton's separate interest, if Defendants did not owe Plaintiffs any fees as per the

2009 Settlement Agreements?

B.     Negligent Misrepresentation

       "On a cause of action alleging negligent misrepresentation, the plaintiff is required to

demonstrate, '(1) the existence of a special or privity-like relationship imposing a duty on the

defendant to impart correct information to the plaintiff; (2) that the information was incorrect;

and (3) reasonable reliance on the information"'. Kimmell v. Schaefer, 89 N.Y.2d 257,675

N.E.2d 450 (1996), (quoting, J.A. 0. Acquisition Corp. v. Stavitsky,_8 N.Y.3d 144, 148, 831

N.Y.S.2d 364, 863 N.E.2d 585). "Professionals, such as lawyers and engineers, by virtue of their




                                                 14
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 17 of 21




training and expertise, may have special relationships of confidence and trust with their clients,

and in certain situations we have imposed liability for negligent misrepresentation when they

have failed to speak with care". Kimmell v. Schaefer, 89 N.Y.2d 257,675 N.E.2d 450 (1996)

(quoting, e.g., *264 Ossining Union Free School Dist. v. Anderson LaRocca Anderson, 73

N.Y.2d 417,541 N.Y.S.2d 335,539 N.E.2d 91).

        Pursuant to the 2009 Settlement Agreements, Keller submitted declarations to Plaintiffs

stating that since their agreement, Labaton has not been retained by any "Potential Clients".

(Complaint ,r61 et seq). Defendant Keller signed Declarations to this effect on January 21, 2011,

on June 9, 2011, on February 14, 2012, on July 16, 2013, and on July 8, 2015. (Complaint ,r62;

Reda Affirmation Ex. "H" Keller Declarations). Nonetheless, Plaintiffs would later learn that

Defendants mispresented that they were retained by the "Potential clients" as listed in Exhibit

No. 1 of the Agreement. (Reda Affirmation Ex. "H" Keller Declarations at 2).

        In the Motion, Defendants' limit Plaintiffs claims, that Defendants retained "Potential

Clients", to the cases that are referenced in the Complaint. Specifically, the Hannezo case, the

Corinthian Colleges case, the Bank of America case, The Weight Watchers case, and the

Rackspace case, however, Plaintiffs were not suggesting that Defendants were only retained by

clients associated with those five (5) cases. Plaintiffs were simply providing some examples of

cases in which they believed Labaton was retained by the "Potential Clients". Defendants state

that" ... documentary evidence, in the form of publicly filed court records available on the

nationwide ECF/PACER system, demonstrates that Labaton made no misrepresentations to

Plaintiffs concerning any of these cases". (See Defendants Memorandum of Law at 15).

Conversely, documentary evidence of Defendants representation of the "Potential Clients",

including the clients referenced in the five (5) cases, for pre-litigation, post litigation, and filing




                                                   15
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 18 of 21




proof of claims/conducting claims processing would not be in the "form of publicly filed court

records".

        Labaton agreed to produce "verifiable documents" for their representation of any of the

"Potential Clients" for pre-litigation and post litigation. (Reda Affirmation Ex. "F" Global

Settlement Agreement at 4). Filing proof of claims/ conducting claims processing is a form of

post litigation. If a fee for retaining the "Potential Clients" for pre and post litigation was not

owed to the Plaintiffs, there would be no need for the Defendants to have to produce "verifiable

documents" to Saulnier for pre and post litigation.

        The Parties agreed in the 2009 Sillam Settlement Agreement that "Labaton is at all times

free to undertake and provide assistance of any type regarding claims processing or claims filing

on behalf of any company ... ". (See Reda Affirmation Ex. "G" Sillam Settlement Agreement at

3). There was no such agreement that if Labaton filed proof of claims or conducted claims

processing with any of Sillam's referred clients, there would be no referral fee paid to Sillam by

Labaton. Exclusive of Sillam' s referrals, Laba ton would not be commencing claims processing

or claims filing for said clients, the clients came directly from Sillam. Sillam would employ his

own claims processing companies, First International Claims Filing, Inc or Claims Filing

Limited, as it is not required to be an attorney to do so. Additionally, if Defendants owed no fee

to Sillam for filing proof of claims, and their relationship was completely severed by the 2009

Sillam Settlement Agreement, why involve Sillam in the 2015 Universal Settlement Agreement

at all. Defendants persuaded Sillam to execute a settlement agreement in 2015 that terminated

Plaintiffs' rights under the previous (2009) settlement agreement, however, Defendants are

claiming that Sillam's relationship with Defendants was already terminated as a result of the

2009 Sillam Settlement Agreement.




                                                   16
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 19 of 21




        Not only did Sillam learned from a representative of AXA Investment Managers and

Degroof PeterCam that Labaton has filed proof of claims, in an email exchange between Michael

P. Canty (hereinafter "Canty"), an attorney at Labaton, and Justin Sher, Plaintiffs prior attorney,

Canty provides a breakdown of Defendants filing claims on behalf of seven (7) "Potential

Clients", (see Reda Affirmation Ex. "K" Email Claims Filing). Defendants should have produced

verifiable documents to Saulnier, and it should have been listed on the Keller Declarations, that

Defendants filed proof of claims for these "Potential Clients". Thus, Defendants negligently

misrepresented to the Plaintiffs in the Keller Declarations that no "Potential Clients" were

retained, causing Plaintiffs to sign the Universal Settlement Agreement.

C.     Reasonable Reliance

       Following the July 8, 2015, Declaration, Plaintiffs were weary of Defendants' assertions

in the Keller Declarations and endeavored to investigate further. Plaintiffs found it difficult to

investigate as they were unable to attain the necessary documentation that is easier to obtain as a

citizen of the United States. Sillam is a French businessman and Saulnier is a French Attorney, as

such they do not have any experience with the procedures of the New York Courts, nor do they

have readily access to ECF/PACER. Most of the documents needed are not public record and are

in the Defendants possession

       Pre-litigation, post litigation and proof of claims process are not public record, and

without a proper discovery process and/or exchange of documents, Plaintiffs are unable to

"obtain additional information concerning the extent ofLabaton's work for Referred Clients

since the settlement Agreements in 2009". (Complaint     ,r73). "A motion to dismiss should be
denied and discovery permitted only when the party opposing the motion establishes that

knowledge of the facts needed to oppose the motion is solely and exclusively in the possession of




                                                 17
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 20 of 21




the movant". Cantor v. Levine, 115 A.D.2d 453,495 N.Y.S.2d 690 (2nd Dept.1985).

Plaintiffs request the opportunity to demand additional documents from Defendants to

further prove their claims regarding pre-litigation, post litigation and proof of claims

filing. Without such opportunity, Plaintiffs would not be able to provide further evidence

needed to prove their claims against the Defendants.

        Furthermore, it is common practice in France to trust the declaration of an

individual with the status such as an attorney. (See Reda Affirmation Ex. "B" Sillam

Affidavit at 3). Thus, Plaintiffs decided to trust in the Keller Declarations and execute the

Universal Settlement Agreement.

D.      Plaintiffs Damages

        As for Plaintiffs' damages, as mentioned in detail above, filing proof of claims/

conducting claims processing is a form of post litigation. If a fee for retaining the

"Potential Clients" for pre and post litigation was not owed to the Plaintiffs, there would

be no need for the Defendants to have to produce "verifiable documents" to Saulnier for

pre and post litigation. Sillam did not agree to allow Labaton the freedom to file proof of

claims for the "Potential Clients" without compensation. If that were the case, Sillam

would employ his own companies to file proof of claims on behalf of the "Potential

Clients" himself. Again, if Defendants did not owe any fees to both Sillam and Saulnier

between 2011 and 2015 regarding the 2009 Settlement Agreements, why did Defendants

pursue the 2015 Universal Settlement Agreement?

       Based upon Plaintiffs knowledge of the funds that Sillam referred to Labaton,

Plaintiffs estimate that Labaton has filed proof of claims for the "Potential Clients"

holding a collective $500 billion in U.S. securities. As investors receive an average of




                                                 18
        Case 1:21-cv-06675-CM Document 22 Filed 12/31/21 Page 21 of 21




$0.0007 to every $ I invested in US securities from class actions, it is estimated that Labaton has

recovered a total of$1.75 billion for clients that Sillam referred to Labaton (the "Potential

Clients"). Upon information and belief, Labaton charged a minimum of 4% to file proof of

claims, which would have generated $70 million in fees during 2011-2015. Accordingly,

Plaintiffs would be entitled to 30% of these fees for filing proof of claims/claims processing and

30% of any fees earned by Labaton in connection with filed actions on behalf of the "Potential

Clients".

                                         CONCLUSION

       For the foregoing reasons, and based on the pleadings and all prior proceedings and

accompanying documents submitted herein, Plaintiffs respectfully request that the Court deny

Defendants' Motion to Dismiss in its entirety or at a minimum only grant a dismissal with

prejudice and allow repleading of an Amended Complaint.


Dated: December 31, 2021
       Mineola, New York
                                              Respectfully submitted,

                                              RAISER & KENNIFF, P.C.
                                              Attorneys for Plaintiff


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                                                 19
